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                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 18-7071                                                September Term, 2018
                                                                     1:14-cv-01289-RMC
                                                                     1:15-cv-00098-RMC
                                                      Filed On: September 11, 2018
Erick Little, et al.,
                Appellees

Galen Pendergrass,
           Appellant

       v.

Washington Metropolitan Area Transit
Authority, et al.,
               Appellees

       BEFORE:       Griffith, Wilkins, and Katsas, Circuit Judges

                                        ORDER

       Upon consideration of the motion to appoint counsel, and the opposition thereto;
and the motions to dismiss or for summary affirmance, the opposition thereto, and the
replies, it is

        ORDERED that the motion to appoint counsel be denied. In civil cases,
appellants are not entitled to appointment of counsel when they have not demonstrated
sufficient likelihood of success on the merits. It is

        FURTHER ORDERED that the motions to dismiss be granted. Because the
settlement agreement approved by the district court preserved appellant’s claims,
appellant lacks standing to appeal the district court’s order approving the settlement
agreement. See Mayfield v. Barr, 985 F.2d 1090, 1093 (D.C. Cir. 1993) (“[T]hose who
fully preserve their legal rights cannot challenge an order approving an agreement
resolving the legal rights of others.”); In re Vitamins Antitrust Class Actions, 215 F.3d
26, 28-29 (D.C. Cir. 2000).

        Pursuant to D.C. Circuit Rule 36, this disposition will not be published. The Clerk
is directed to withhold issuance of the mandate herein until seven days after resolution
of any timely petition for rehearing or petition for rehearing en banc. See Fed. R. App.
P. 41(b); D.C. Cir. Rule 41.

                                       Per Curiam
